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 8                          UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               No.    2:21-cr-00311-FMO

11             Plaintiff,                    I N F O R M A T I O N

12             v.                            [18 U.S.C. § 666(a)(1)(B): Bribery
                                             Concerning Programs Receiving
13   RUDOLPH PETERSEN,                       Federal Funds]
14             Defendant.

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16        The Acting United States Attorney charges:
17                           [18 U.S.C. § 666(a)(1)(B)]
18        From in or around December 2018 to on or about August 5, 2020,
19   in Los Angeles County, within the Central District of California,
20   defendant RUDOLPH PETERSEN, a police officer and an agent of the
21   Montebello Police Department, a local government agency that received
22   in any one-year period, including in calendar years 2018, 2019, and
23   2020, benefits in excess of $10,000 under a federal program involving
24   a grant and other assistance, corruptly accepted and agreed to accept
25   something of value from a person, intending to be influenced and
26   rewarded in connection with a business, transaction, and series of
27   transactions of the Montebello Police Department, having a value of
28   $5,000 or more.    Specifically, defendant PETERSEN agreed to accept
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 1   bribe payments of at least $14,000 from a person, intending to be

 2   influenced and rewarded in connection with taking official action to

 3   protect the person’s illegal enterprise from law enforcement

 4   activity.

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 6                                              TRACY L. WILKISON
                                                Acting United States Attorney
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 9                                              SCOTT M. GARRINGER
                                                Assistant United States Attorney
10                                              Chief, Criminal Division
11                                              SHAWN J. NELSON
                                                Assistant United States Attorney
12                                              Chief, International Narcotics,
                                                Money Laundering and Racketeering
13                                              Section
14                                              BENEDETTO L. BALDING
                                                Assistant United States Attorney
15                                              Deputy Chief, International
                                                Narcotics, Money Laundering and
16                                              Racketeering Section
17                                              IAN V. YANNIELLO
                                                Assistant United States Attorney
18                                              International Narcotics, Money
                                                Laundering and Racketeering
19                                              Section
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